   From:            Ford, Elizabeth [jO=CORPNYCHHC/OU=EXCHANGE ADMINISTRATIVE GROUP
                    (FYDI BOHF23SPDLT)/CN=RECI PI ENTS/CN=579CF529F9C04311A301246C6C46FEFB-ELIZABETH A F]
   Sent:            5/9/20198:50:34 PM
   To:              Yang, Patricia [patricia.yang@nychhc.org]
   CC:              Macdonald, Ross [rmacdonald@nychhc.org]; WANGEL, JONATHAN [wangelj@nychhc.org]
   Subject:         Re: Summary Investigative Memorandum re: Dr. Melissa Kaye

   Sensitivity:     Company Confidential


   Thank you
   I am out tomorrow but will follow up on Monday about discipline

   Sent from my iPhone
   347-461-5830



   On May 9, 2019, at 7:44 PM, Yang, Patricia                                   wrote:




               Begin forwarded message:

                      From: "Patsos, Catherine"
                      Date: May 9, 2019 at 7:26:40 PM EDT
                      To: "Yang, Patricia"
                      Cc: "WANGEL, JONATHAN"                              "Khalid, Sofia"

                      Subject: Summary Investigative Memorandum re: Dr. Melissa Kaye

                      Hi Patsy,
                      Please see the attached memorandum summarizing the Office of Corporate
                      Compliance's investigation of the report regarding Dr. Melissa Kaye, including
                      recommendations. Please let me know if you have any questions.
                      Catherine




Confidential
